Case 3:24-cv-00564-CWR-ASH Document 5 Filed 09/23/24 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Southern District of Mississippi

The Smith Law Firm, PLLC

Plaintiffs)
v.

Civil Action No.3:24-cv-564-CWR-LGI

Beasley, Allen, Crow, Methvin, Portis and Miles,
P.C., Anthony Dow "Andy" Birchfield, Jr., Ted Gordon
Meadows

Nee ee ee es ee es ee

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Beasley, Allen, Crow, Methvin, Portis and Miles, P.C.
218 Commerce Street
Montgomery, Alabama 36104

A lawsuit has been filed against you,

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Thomas G. Bufkin

Carroll Bufkin, PLLC
1076 Highland Colony Parkway, Ste 125
Ridgeland, MS 39157

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ARTHUR S. JOHNSTON, III
CLERK OF COURT

a Kothig,

Date: September 20, 2024

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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name “Ulecl- and title, ifany) Dtashes A lle: in L bea), Meth We; par hs oad Miles Pc
was received by me on (date) qa(20 (24

fl I personally served the summons on the individual at ¢piace)

on (date) ; or

0 [left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on fdate) , and mailed a copy to the individual’s last known address; or

O I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

On: (date) ; or

7 | returned the summons unexecuted because ; or

tf other épecity: Avwondecd Coy (aint -“h be G led

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

pas G-C3-T4

Server's signature

Mich! Cat, MA, bh

Printed name and title

(07 tlbak Colon Pha Kidileh 0S

“sonk ver “'s addi ss

Additional information regarding attempted service, etc:
